      Case 3:21-cv-09767-EMC Document 56 Filed 03/01/22 Page 1 of 6




 1   Thomas L. Laughlin, IV (admitted pro hac vice)
     SCOTT+SCOTT ATTORNEYS AT LAW LLP
 2   The Helmsley Building
     230 Park Avenue, 17th Floor
 3   New York, NY 10169
     Telephone: (212) 223-6444
 4   tlaughlin@scott-scott.com
 5   Attorneys for Lead Plaintiff Movants Dr. Vinod Sodha and
     Dr. Amee Sodha and Proposed Lead Counsel for the Class
 6

 7   [Additional Counsel on Signature Page.]

 8                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9   PHILIP GOLUBOWSKI, Individually and on     Case No. 3:21-cv-09767-EMC
     Behalf of All Others Similarly Situated,
10
                                   Plaintiff,           OPPOSITION BY DR. VINOD SODHA
11
                                                        AND DR. AMEE SODHA TO
            v.                                          COMPETING MOTION FOR
12
                                                        APPOINTMENT OF LEAD PLAINTIFF
     ROBINHOOD MARKETS, INC., VLADIMIR                  AND LEAD COUNSEL
13   TENEV, JASON WARNICK, BAIJU BHATT,
     JAN HAMMER, PAULA LOOP, JONATHAN
14   RUBENSTEIN, SCOTT SANDELL, ROBERT                  Judge: Hon. Edward M. Chen
     ZOELLICK, GOLDMAN SACHS & CO. LLC,                 Dept.: 5, 17th Floor
15   J.P. MORGAN SECURITIES LLC,                        Date: March 24, 2022
     BARCLAYS CAPITAL INC., WELLS FARGO
16   SECURITIES, LLC, MIZUHO SECURITIES                 Time: 1:30 p.m.
     USA LLC, JMP SECURITIES LLC,
17   KEYBANC CAPITAL MARKETS INC.,
     PIPER SANDLER & CO., ROSENBLATT
18   SECURITIES INC., BMO CAPITAL
     MARKETS CORP., BTIG, LLC,
19   SANTANDER INVESTMENT SECURITIES
     INC., ACADEMY SECURITIES, INC., LOOP
20   CAPITAL MARKETS LLC, SAMUEL A.
     RAMIREZ & COMPANY, INC., and SIEBERT
21   WILLIAMS SHANK & CO., LLC,
22                                 Defendants.
23

24

25

26

27

28       OPPOSITION BY DR. VINOD SODHA AND DR. AMEE SODHA TO COMPETING MOTION FOR APPOINTMENT OF LEAD
                                           PLAINTIFF AND LEAD COUNSEL
                                             Case No. 3:21-cv-09767-EMC
          Case 3:21-cv-09767-EMC Document 56 Filed 03/01/22 Page 2 of 6




 1                                     SUMMARY OF ARGUMENT

 2            Presently before the Court are two competing motions for appointment as lead plaintiff and

 3   approval of lead counsel.1 Under the PSLRA, the Court “shall” select as lead plaintiff the movant

 4   with the largest financial interest, but only if that movant is otherwise adequate and typical within

 5   the meaning of Rule 23. See 15 U.S.C. §77z-1(a)(3)(B)(iii)(I). Dr. Vinod Sodha and Dr. Amee

 6   Sodha (“Movant” or the “Sodhas”) (ECF No. 45) should be appointed to lead this case because

 7   they have the largest financial interest of any movant by far, and they are both adequate and typical.

 8   Dr. Vinod Sodha alone lost nearly $1.3 million and his daughter Dr. Amee Sodha lost over

 9   $104,000. All other movants lost significantly less.

10            The Sodhas’ claims are typical of other Class members and they have shown that they can

11   fairly and adequately represent the interests of the Class. In addition, the Sodhas’ selection of

12   Scott+Scott Attorneys at Law LLP (“Scott+Scott”) as Lead Counsel should be approved because

13   Scott+Scott has substantial expertise in securities class action litigation and the experience and

14   resources to prosecute this action efficiently and effectively.

15                                               ARGUMENT

16   I.       THE PSLRA’S STRAIGHTFORWARD LEADERSHIP TEST

17            The movant with the largest loss is the presumptive lead plaintiff and must be appointed

18   lead plaintiff if the movant is otherwise adequate and typical. In re Cavanaugh, 306 F.3d 726, 730

19   (9th Cir. 2002). The Ninth Circuit has described the PSLRA’s lead plaintiff framework as a

20   “simple [] process” that “provides in categorical terms that the only basis on which a court may

21   compare plaintiffs competing to serve as lead is the size of their financial stake in the controversy.”

22   Id. at 729, 732 (emphasis in original). Accordingly, “[o]nce it determines which [movant] has the

23   biggest stake, the court must appoint that [movant] as lead, unless it finds that he does not satisfy

24
     1
25          Unless otherwise defined herein, all capitalized terms shall maintain the same meaning as
     those set forth in the Sodhas’ motion. See ECF No. 45. Four competing motions were filed by:
26   Felix Maechler (“Maechler”) (ECF No. 32); Leroy Doug Altman (“Altman”) (ECF No. 37); Josh
     Raborn (“Raborn”) (ECF No. 40); and Haim Ronan and Igor Tanas (“Ronan & Tanas”) (ECF No.
27   44). Notices of non-opposition have been filed by three of the original movants, Maechler,
     Altman, and Raborn. ECF Nos. 52-53 & 55.
28                                                   1
           OPPOSITION BY DR. VINOD SODHA AND DR. AMEE SODHA TO COMPETING MOTION FOR APPOINTMENT OF LEAD
                                             PLAINTIFF AND LEAD COUNSEL
                                               Case No. 3:21-cv-09767-EMC
         Case 3:21-cv-09767-EMC Document 56 Filed 03/01/22 Page 3 of 6




 1   the typicality or adequacy requirements.” Id. at 732. In this case, there is no question that the

 2   Sodhas have the largest financial interest.

 3   II.       THE SODHAS HAVE THE LARGEST LOSS OF ANY MOVANT

 4             In assessing movants’ respective financial interest, courts principally consider the

 5   movants’ alleged losses. Robb v. Fitbit Inc., No. 16-cv-00151-SI, 2016 WL 2654351, at *3 (N.D.

 6   Cal. May 10, 2016) (citing In re Diamond Foods, Inc., Secs. Litig., 281 F.R.D. 405, 408 (N.D. Cal.

 7   2012)). As reflected in the following chart of losses asserted by the movants, the Sodhas claim

 8   the largest financial interest in this case by far, and Dr. Vinod Sodha alone lost far more than any

 9   other movant or individual investor.

10
                                   Movant                            Loss
11                       The Sodhas                                     $1,398,214
                               Dr. Vidod Sodha                          $1,293,978
12
                               Dr. Amee Sodha                             $104,236
13

14                       Haim Ronan and Igor Tanas2                        $156,773
                               Haim Ronan                                   $98,939
15
                               Igor Tanas                                   $57,835
16

17                       Leroy Doug Altman                      $189,000 [non-opp]
                         Felix Maechler                          $73,356 [non-opp]
18
                         Josh Raborn                             $20,865 [non-opp]
19

20   See ECF Nos. 45-5, 47-1, 33-3, 37-3, and 41-3.

21   III.      THE SODHAS ARE OTHERWISE ADEQUATE AND TYPICAL

22             Because the Sodhas indisputably have the largest financial interest in this case, they must

23   be appointed as lead plaintiffs unless the Court is presented with evidence showing that they are

24   not adequate and typical. Cavanaugh, 306 F.3d at 730. Here, no such evidence exists. The Sodhas

25
     2
26          The loss suffered by the only other remaining movant, Ronan & Tanas, is just 11% of the
     Sodhas’s loss. Moreover, Ronan & Tanas’ losses should not even be considered in aggregate
27   because they are an unrelated group of investors. See, e.g., Isaacs v. Musk, No. 18-cv-04865-
     EMC, 2018 2018 WL 6182753, at *3 (N.D. Cal. Nov. 27, 2018).
28                                                  2
            OPPOSITION BY DR. VINOD SODHA AND DR. AMEE SODHA TO COMPETING MOTION FOR APPOINTMENT OF LEAD
                                              PLAINTIFF AND LEAD COUNSEL
                                                Case No. 3:21-cv-09767-EMC
       Case 3:21-cv-09767-EMC Document 56 Filed 03/01/22 Page 4 of 6




 1   are typical of the putative Class. Like all members of the putative Class, they have claims that

 2   arise from the misrepresentations and omissions alleged in the Complaint. See, e.g., Russo v.

 3   Finisar Corp., No. 5:CV 11-01252-EJD, 2011 WL 5117560, at *4 (N.D. Cal. Oct. 27, 2011). With

 4   respect to adequacy, the Sodhas have no known conflicts of interest with the Class. See, e.g.,

 5   Scheller v. Nutanix, Inc., No. 19-CV-01651-WHO, 2021 WL 2410832, at *8 (N.D. Cal. June 10,

 6   2021). As father and daughter, and as physicians and sophisticated investors, they have a

 7   relationship that precedes this litigation, and they can communicate effectively and work together

 8   for the benefit of the Class. See ECF No. 45-4.

 9            The Sodhas have also demonstrated that they are adequate representatives by retaining

10   competent and experienced counsel. Scott+Scott is an international law firm that specializes in

11   securities class action cases throughout the country and has significant resources to litigate this

12   complex case. Scott+Scott consists of over 110 team members, including 70 highly experienced

13   attorneys and a California office. Scott+Scott also includes a team of paralegals, legal assistants,

14   and other support staff including in-house investigators and an e-discovery litigation support

15   group.

16            Scott+Scott has a long track record of successfully litigating securities class actions in this

17   District and other state and federal courts across the country. In 2019, acting as sole lead counsel,

18   Scott+Scott settled a case in this District for $50 million. In re SanDisk LLC Securities Litigation,

19   No. 3:15-cv-01455 (N.D. Cal.). In addition, Scott+Scott has litigated, and continues to litigate,

20   many other securities class actions across the country. See ECF Nos. 45 at 7-8 and 45-6.

21   Scott+Scott’s resources and experience will well serve the putative Class.

22                                              CONCLUSION

23            For the foregoing reasons and the reasons set forth in its opening brief, the Sodhas

24   respectfully request that the Court appoint them as Co-Lead Plaintiffs, approve their selection of

25   Scott+Scott to serve as Lead Counsel, and deny all competing motions.

26

27

28                                                      3
         OPPOSITION BY DR. VINOD SODHA AND DR. AMEE SODHA TO COMPETING MOTION FOR APPOINTMENT OF LEAD
                                           PLAINTIFF AND LEAD COUNSEL
                                             Case No. 3:21-cv-09767-EMC
      Case 3:21-cv-09767-EMC Document 56 Filed 03/01/22 Page 5 of 6




 1   Dated: March 1, 2022                         SCOTT+SCOTT ATTORNEYS AT LAW LLP

 2                                                  s/ Thomas L. Laughlin
                                                  Thomas L. Laughlin, IV (admitted pro hac vice)
 3                                                Rhiana Swartz (pro hac vice forthcoming)
                                                  Jonathan M. Zimmerman (pro hac vice forthcoming)
 4                                                The Helmsley Building
                                                  230 Park Avenue, 17th Floor
 5                                                New York, NY 10169
                                                  Telephone: 212-233-6444
 6                                                Facsimile: 212-233-6334
                                                  tlaughlin@scott-scott.com
 7                                                rswartz@scott-scott.com
                                                  jzimmerman@scott-scott.com
 8
                                                  SCOTT+SCOTT ATTORNEYS AT LAW LLP
 9                                                John T. Jasnoch (CA 281605)
                                                  Hal Cunningham (CA 243048)
10                                                600 W. Broadway, Suite 3300
                                                  San Diego, CA 92101
11                                                Telephone: 619-233-4565
                                                  Facsimile: 619-233-0508
12                                                jjasnoch@scott-scott.com
                                                  hcunningham@scott-scott.com
13
                                                  Counsel for Lead Plaintiff Movants Dr. Vinod Sodha
14                                                and Dr. Amee Sodha and Proposed Lead Counsel for
                                                  the Class
15
                                                  THE SCHALL LAW FIRM
16                                                Brian J. Schall
                                                  2049 Century Park East, Suite 2460
17                                                Los Angeles, CA 90067
                                                  Telephone: 310-301-3335
18                                                Facsimile: 310-388-0192
                                                  brian@schallfirm.com
19
                                                  Additional Counsel for Lead Plaintiff Movants Dr.
20                                                Vinod Sodha and Dr. Amee Sodha
21

22

23

24

25

26

27

28                                                   4
        OPPOSITION BY DR. VINOD SODHA AND DR. AMEE SODHA TO COMPETING MOTION FOR APPOINTMENT OF LEAD
                                          PLAINTIFF AND LEAD COUNSEL
                                            Case No. 3:21-cv-09767-EMC
      Case 3:21-cv-09767-EMC Document 56 Filed 03/01/22 Page 6 of 6




 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on March 1, 2022, I caused the foregoing document to be filed with

 3   the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

 4   email addresses denoted on the Electronic Mail Notice List.

 5          Executed on March 1, 2022, at New York, New York.

 6
                                                    s/ Thomas L. Laughlin
 7                                                 Thomas L. Laughlin (admitted pro hac vice)
 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                    5
         OPPOSITION BY DR. VINOD SODHA AND DR. AMEE SODHA TO COMPETING MOTION FOR APPOINTMENT OF LEAD
                                           PLAINTIFF AND LEAD COUNSEL
                                             Case No. 3:21-cv-09767-EMC
